Case 3:19-cv-01038-JBA Document 1-2 Filed 07/01/19 Page 1 of 6

SUMMONS ~ CIVIL STATE OF CONNECTICUT
C.G.S. $§ 51-346, 51-247, 51-249, 61-350, 52-450, SUPERIOR COURT
52-48, 52-258, P.B, §§ 3-4 through 3-21, &1, 10-13

www _jud.ct.gov

 

See other side for instructions

0 °X" if amount, legal interest or property in demand, not including interest and

costs is less than $2,500,

[x] “X" if amount, legal interest or property in demand, not including interest and
costs is $2,500 or more. ‘

[_] °X® if claiming other relief in addition to or in lieu of money or damages.

TO: Any proper officer, BY AUTHORITY OF THE STATE OF CONNECTICUT, you are hereby commanded to make due and legal service of
this Summons and attached Complaint.

 

 

 

 

 

 

 

 

 

 

 

 

Address of court clerk where writ and other papers shall be filed (Number, street, town and zip code) | Telephone number of derk Retum Date (Must be a Tuesday)
{(C.G.S. §§ 51-246, 51-350) {vith area coda)

14 West River Street, Milford, CT 06460 ( 203 }877-4283 June s6— 25.2019
|X| Judiciat District Oo GA. At (Towa in which wri is returnable) (C.G.S. §§ 571-346, 51-349) Case type code (See jist on paga 2)

T ) Housing Session Number. Milford Major. T Minor: 03
For the Plaintifffs) please enter the appearance of:

Name and address of attomey, law firm or plaintiff i self-represented (Number, street, tovin and zip code) Juris number (to be entered by aftamey onty)
Goldman, Gruder & Woods, LLC ‘ 035172

Telephone number fwith area code) Signature of Plaintiff (if seif-representec)

(203 } 880.5333

The attomey or law firm appearing for the plaintiff, or the plaintiff if Email address for delivery of papers under Section 10-12 (i agreed fo)

self-represented, agrees to accept papers (service) electronically in Yes No .
this case under Section 10-13 of the Connecticut Practice Book. i Ci BElstein@goidgr u.com

 

 

 

 

 

 

 

 

 

 

 

 

Number of Plaintiffs: 2 Number of Defendants: 1 Cc Form JD-CV-2 attached for additional parties
Parties Name (Last, First, Middie initial) and Address of Each party (Number; Street; P.O. Box; Town; State; Zip; Country, if not USA)
First Name: Bodnar, Diane P-04
Plaintiff Address: 100 Parrott Drive, Shelton, CT 06484
Additional |Name: Bodnar, Donald "P02
Plaintiff Address: 100 Parrott Drive, Shelton, CT 06484
First Name: {Blue AirwaysCorporation Agent for Service: National Registered Agents, Inc. D-01
Defendant | Address: urnside * ‘ord, CT 06108
Additional Name: 0-02
Defendant | Address:
Additional =| Name: D-03
Defendant | Address:
Additional Name: 0-046
Defendant Address:

 

 

 

 

Notice to Each Defendant

1. YOU ARE BEING SUED. This paper is a Summons in a fawsuit. The complaint attached to these papers states the claims thal each plaintiff is making
against you in this lawsuit.

2. To be notifted of further proceedings, you or your attorney must file a form called an “Appearance” with the clerk of the above-named Court at the above
Court address on or before the second day after the above Return Date. The Return Date is not a hearing date. You do not have to come to court an the
Return Date unless you receive 2 separate notice telling you to come to court.

3. Ifyou or your attorney do not file a written "Appearance" form on time, a judgment may be entered against you by default. The "Appearance" farm may be
obtained at the Court address above or at wine jud.ct.gov under “Court Forms."

4, If you believe that you have insurance that may cover the claim that is being made against you in this lawsuit, you should immediately contact your
insurance representative. Other action you may have to take is described in the Connecticut Practice Book which may be found in a superior court law
library or on-line at winvjud.el.gev under "Court Rules.”

5, If you have questions about beg mmons and Complaint, you should talk to an attorney quickly. The Clerk of Court is not allowed to give advice on
legal questions. -

  
   
 
 
  

 

Signed (Sign and Xoptoper b Name of Person signing at Left Date signed
ew Bruce L. Elstein, Esquire 05/30/2019

 

 

 

For Court Use Only

 
   

 

If this Summons Reigned by ablerk
a. The signing has bet so that the Plaintiff(s) will not be denied access to the courts.
b. It is the responsibility of the Plaintifi(s) to see thal service is made in the manner provided by law.

c. The Clerk is not permitted te give any legal advice in connection with any lawsuit.
d, The Clerk signing this Summons at the request of the Plaintiff(s} is not responsible in any way for any erro
in the Summons, any allegations contained in the Complaint, or the service of the Summans or Complaint!

   
   
 

f TRUE COPY.ATZEST:

APH ik. HOMELSON
STATE MARSHAL
| certify | have read and j Signed (Self-Represented Plaintiff) Date Docket Number

understand the above:

 

 

 

 

 

 

(Page 1 of 2)
 

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RETURN DATE:JUNE 25, 2019 : SUPERIOR COURT
BODNAR, DIANE, ET AL : J.D. OF ANSONIA-MILFORD
V. : AT MILFORD
JETBLUE AIRWAYS, CORPORATION : MAY 30, 2019
COMPLAINT

The plaintiffs, DIANE BODNAR and DONALD BODNAR, bring this action against
the defendant JETBLUE AIRWAYS, CORPORATION, and alleges as follows.

FIRST COUNT
INTRODUCTION
1. This is a personal injury action for damages arising out of a slip and fall injury

sustained on April 14, 2018 while walking on the jetway to board a plane
operated by the defendant from Sangster International Airport in Montego Bay,
Jamaica. Plaintiff was travelling from Montego Bay, Jamaica to Miami
International Airport in Miami, FL.

2. The plaintiff was a paying passenger on the international flight and suffered
personal injuries as a result of the trip and fall incident.

PARTIES

3. The plaintiff DIANE BODNAR is a citizen of the United States and a resident of
Shelton, CT.

4. The defendant, JETBLUE AIRWAYS CORPORATION., was and continues to be,

a Delaware corporation with a business address of 27-01 Queens Plaza North,

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GOLDMAN, GRUDER & WOODS, LLC + ATTORNEYS AT LAW
105 TECHNOLOGY DRIVE + TRUMBULL, CONNECTICUT 06611 © (203) 880-5333 =

JURIS NO. 035172

 
 

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Long Island City, New York, which was authorized to transact business within the
State of Connecticut.

GENERAL ALLEGATIONS
The defendant, JETBLUE AIRWAYS CORPORATION, is a commercial air
carrier engaged in the business of transportation of fare-paying passengers on
regularly scheduled international flights from Sangster International Airport in
Montego Bay, Jamaica.
On April 14, 2018 JETBLUE AIRWAYS CORPORATION. was the owner, lessee,
operator, and/or entity in control of the JETBLUE AIRWAYS CORPORATION.
Plane which departed from Sangster International Airport in Montego Bay,
Jamaica to Miami International Airport in Miami, FL.
On April 14, 2018, the plaintiff, DIANE BODNAR, was a paying customer on
JETBLUE AIRWAYS CORPORATION's flight.
On April 14, 2018 the plaintiff, DIANE BODNAR, was lawfully upon the aforesaid
premises as a passenger of JETBLUE AIRWAYS CORPORATION. preparing to
board a flight.
The plaintiff, DIANE BODNAR, passed through security at the gate to board the
plane but her husband was asked to step out of line.
The plaintiff, DIANE BODNAR, turned to stay with her husband but was told she
had to board the plane. |
While walking down the jetway to the plane the plaintiff, DIANE BODNAR, turned

to look back for her husband at which time she fell.
5 .

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JURIS NO. O35172

 
 

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As a result of the negligence and carelessness of the defendant, JETBLUE
AIRWAYS CORPORATION, through the actions of its officers, agents, servants
and/or employees the plaintiff, DANE BODNAR, sustained and suffered
personal injuries and losses including a fracture of her collarbone, and injuries to
her right arm, leg and head.

From all of the aforesaid injuries, or effects thereof, the plaintiff, DIANE
BODNAR, has suffered and will suffer great pain, mental anguish, and
nervousness, some of which injuries or the effects thereof, are, or may be
permanent.

The plaintiff, DANE BODNAR, was rendered in pain and disabled as a result of
said occurrence, and has been and will be unable to be up and around and to
perform her household and work duties as she did prior to said occurrence, all of
which has and will cause her loss and damage.

The plaintiff, DIANE BODNAR, has incurred and will incur bills for medical care
and attention, x-rays, medications, physiotherapy, etc., and has been and will be
unable to perform her occupational duties as she did prior to said occurrence, all
of which has and will cause her loss and damage.

As a result of the negligence and carelessness of JETBLUE AIRWAYS, CORP.,
the plaintiff, DIANE BODNAR, is in fear of future illness or disability and is
anxious over the future consequences of his injuries.

As a result of the negligence and carelessness of the defendant, the plaintiff,

DIANE BODNAR, is at an increased risk of future medical complications.
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SECOND COUNT

1-17. Paragraphs 1 — 17 of the First count are hereby made paragraphs 1 — 17 of the

Second Count.

18. Asa further result of the injuries of his wife, DIANE BODNAR, as alleged in the
First Count hereof, the plaintiff, DONALD BODNAR, suffered the loss of society,

affection, moral support, services, companionship and sexual relations with his

wife.

£ TRUE COPY.AZ TEST
4 AGZEPH A. HOMELSON
STATE MARSHAL
GOLDMAN, GRUDER & WOODS, LLC +« ATTORNEYS AT LAW
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RETURN DATE:JUNE 25, 2019 ; SUPERIOR COURT
BODNAR, DIANE, ET AL J.D. OF ANSONIA-MILFORD
V. AT MILFORD
JETBLUE AIRWAYS, CORPORATION MAY 30, 2019
DEMANDS FOR RELIEF

 

WHEREFORE, the piaintiffs claim:
1. Fair, just and reasonable damages; and

2. Cost of suit.

The amount, legal interest or property in demand is more than Fifteen Thousand

($15,000.00) Dollars, exclusive pof interest and costs.

THE PLAINTIFFS

By: —f

Bruce L. Elsteth, Esq
Goldman,-Gruder & Woods, LLC

105 Technology Drive

Trumbull, CT 06611

Telephone # 203.880-5333

Fax #: 203.880-5332

Email: belstein@goldmangruderwoods.com

 

& TRUE COPY.AVTEST:

; Quis. hmttae
JOAEPH A. HOMELSON
STATE MARSHAL
GOLDMAN, GRUDER & WOODS, LLC + ATTORNEYS AT LAW

  
 

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